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Form oredefic
                                           UNITED STATES BANKRUPTCY COURT

                                                       Eastern District of Arkansas


In Re:        Patricia Walker
              Debtor
                                                                                                   Case No.: 4:13−bk−12806
                                                                                                   Chapter: 13


                                                          ORDER OF DEFICIENCIES


The document(s) denoted at the bottom of this order must be filed within the specified number of days from the date of the voluntary
petition/date of conversion or the case WILL BE DISMISSED.** No hearing shall be held unless requested. If a response to this notice is
filed, the Court will set the matter for hearing by subsequent notice. Official bankruptcy forms can be found at www.uscourts.gov.
**Exception: Cases with missing social security numbers(s) will be forwarded to the Assistant U.S. Trustee's office and not automatically
dismissed. The event Bankruptcy Events > Miscellaneous > Request for SSN Modification should be entered in the case and Official Form
21 e−mailed to: dropbox@areb.uscourts.gov.
Any motion for extension of time to file subject document(s) or objection to the dismissal shall be filed (and served on the trustee) on or
before the date the identified document is due. A motion for extension of time to file a creditor mailing matrix shall be filed and served
within seven (7) days from the filing date of the voluntary petition, a motion for extension of time to file a statement of intention shall be
filed and served within thirty (30) days from the filing date of the voluntary petition, and a motion for extension of time to file any other
document identified on this order shall be filed and served within fourteen (14) days from the filing date of the voluntary petition.
If a chapter 13 plan was not filed with the petition, the debtor(s) is/are hereby directed to send the plan and notice of opportunity to object to
all parties in interest pursuant to FRBP 2002(b).
PETITIONS FILED WITHOUT SCHEDULES D THROUGH F: If the creditor list filed with the petition was incomplete, the debtor(s) must
(1) send 341(a) notice to omitted creditor(s) and (2) file amendment to creditor list (with $30.00 filing fee) listing only creditor(s) omitted
from initial creditor list.
NOTICE: If paid in installments pursuant to General Order 32, the filing fee is to be paid in full on or before the date first set for the 341a
meeting, unless otherwise ordered by the Court. Failure to pay filing fee when due will result in dismissal of the case unless the court orders
otherwise upon proper motion. No hearing shall be held unless requested. If a response to this notice is filed, the Court will set the
matter for hearing by subsequent notice.

Due within seven (7) days from the                                                 Due within 30 days from the
filing date of the voluntary petition:                                             filing date of the voluntary petition:
N/A                                                                                N/A

Due within 14 days from the filing date of the voluntary petition:
Narrative of Plan
Notice of Opportunity to Object


Signature block "/s/ name" is missing from:
N/A


Dated: 5/15/13

                                                      UNITED STATES BANKRUPTCY JUDGE
